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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
RALPH COLEMAN, et al., 2:90-cv-00520 LKK JFM P
Plaintiffs, | DEFENDANTS’ RESPONSE
TO COURT ORDER
V. REGARDING A PLAN TO

ADDRESS PAY PARITY FOR

ARNOLD SCHWARZENEGGER, et al., DMH CLINICIANS

Defendants.

On February 7, 2007, this Court ordered Defendants to assess and develop a plan to meet
the issues created by the disparity in pay for Department of Mental Health (DMH) clinicians
providing mental health services to California Department of Corrections and Rehabilitation
(CDCR) inmates in CDCR institutions and those providing services to CDCR inmates in all
other DMH institutions.

Defendants hereby inform this Court that a request for enhancement of salaries provided to
DMH clinicians has been made to the Legislature. (Ex. A, March 29, 2007 Letter, Re. Support,
Department of Mental Health, § 2.) In addition, Defendants have requested the Legislature

authorize $1.0 million in funding to support the recruitment of psychiatric and medical services

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within state institutions. (Ex. B, March 29, 2007 Letter, Re. Support, Department of Personnel
Administration, 472.)

Defendants believe these two funding requests address the pay parity issue between DMH
clinicians providing mental health services to California Department of Corrections and
Rehabilitation (CDCR) inmates in CDCR institutions and those providing services to CDCR
inmates in all other DMH institutions. Defendants respectfully request this Court find that no
further response is necessary to the Court order of February 7, 2007.

Dated: April 2, 2007

Respectfully submitted,

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